Case No. 1:23-cv-02660-NRN Document 22 filed 11/09/23 USDC Colorado pg 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-02660-NRN

F.C., A.B., D.D.R., L.V., Ra.G., R.S., J.D.C., W.C., G.G., R.C., D.L., E.I., M.G., E.C.,
Rh.P., L.L., J.J.G., R.V., R.L., A.S., E.A., J.V., A.C., A.G., A.A., R.A., Ro.L., Ro.P., S.N.,
B.M., G.T., J.B., E.D.C., V.A., Re.D., C.S., Ra.D., and M.R.,

Plaintiffs,

v.

JACOBS SOLUTIONS INC.,
JACOBS ENGINEERING GROUP INC.,
CH2M HILL COMPANIES, LTD.,
CH2M HILL INTERNATIONAL, LTD., and
CH2M HILL INTERNATIONAL B.V.,

Defendants.

                                     MINUTE ORDER

Entered by Magistrate Judge N. Reid Neureiter

       It is hereby ORDERED that a telephonic Status Conference is SET for November
30, 2023 at 10:00 a.m. to discuss the Joint Motion for Extension of Time (Dkt. #17). The
parties are directed to call the conference line as a participant at (888) 398-2342,
Access Code 5755390# at the scheduled time.

      It is further ORDERED that Defendants’ obligation to answer or otherwise
respond to the Complaint is stayed pending further order from the Court.

Date: November 9, 2023
